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                          IN THE UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

WESTERN HEALTHCARE, LLC,                         §
                                                 §
                        Plaintiff,               §
                                                 §
v.                                               §    Civil Action No. 3:16-CV-565-L
                                                 §
NATIONAL FIRE AND MARINE                         §
INSURANCE COMPANY, et al.,                       §
                                                 §
                        Defendants.              §

                                             ORDER

        On December 28, 2016, United States Magistrate Judge David L. Horan entered the Findings,

Conclusions and Recommendation of the United States Magistrate Judge (“Report”) recommending

that the court grant in part and deny in part Western Healthcare, LLC’s Motion and Application for

Attorney’s Fees (Doc. 25), filed August 26, 2016, and award Western Healthcare, LLC $18,572 in

reasonable attorney’s fees for the improper removal of this action. No objections to the Report were

filed as of the date of this order.

        After reviewing the motion, file, Report, and record in this case, the court determines that

the findings and conclusions of the magistrate judge are correct, and accepts them as those of the

court. Accordingly, the court grants in part and denies in part Western Healthcare, LLC’s Motion

and Application for Attorney’s Fees (Doc. 25), awards Western Healthcare, LLC $18,572 in

reasonable attorney’s fees, and orders removing Defendants National Fire and Marine Insurance

Company, The Medical Protective Company, Berkshire Hathaway Inc., and Thomas Meierant to pay

this amount to Western Healthcare, LLC.



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       It is so ordered this 12th day of January, 2017.


                                                    _________________________________
                                                    Sam A. Lindsay
                                                    United States District Judge




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